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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 SUPERNUS PHARMACEUTICALS, INC.,

                        Plaintiff,

        v.                                                   Civil Action No. 22-1431-GBW

 AJANTA PHARMA LIMITED,

                        Defendant.


                  STIPULATION AND [PROPOSED] ORDER FOR
             EXTENSION OF CERTAIN SCHEDULING ORDER DEADLINES

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that the following deadlines set forth in D.I. 16 shall be modified as follows:

 Event                               Current Date                   New Proposed Date
 Plaintiff to Produce to             October 5, 2023                October 19, 2023
 Defendants Its Initial
 Infringement Claim Chart.
 Default Standard ¶ 4(c); see
 also supra ¶ 3(f)(i).
 Defendants to Produce to            December 18, 2023              January 3, 2024
 Plaintiff Their Initial
 Invalidity Contentions for
 Each Asserted Claim, as Well
 as the Cited Prior Art.
 Default Standard ¶ 4(d); see
 also supra ¶ 3(f)(ii).
 Parties Exchange Proposed           January 8, 2024                January 10, 2024
 Claim Terms for
 Construction.




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Dated: October 5, 2023


/s/ Thatcher A. Rahmeier                        /s/ Stamatios Stamoulis
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Attorneys for Plaintiff




       SO ORDERED this ___ day of October, 2023.


                                       __________________________________
                                       The Honorable Gregory B. Williams
                                       United States District Judge




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